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                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF KENTUCKY
                                Pikeville Division


    In re:

         Justin Todd Trout,                        Case No. 18-70695
                                                   Chapter 7
             Debtor.


                   Motion to Extend Time to Object to Discharge

         Paul A. Randolph, Acting United States Trustee, moves for entry of an

   order extending the time to object to discharge for any party in interest and

   in support states:

    1.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§

   157 and 1334. Venue is proper pursuant to 28 U.S.C. § 1409. This matter is a

   core proceeding.

    2.       The United States Trustee has standing to bring this Motion pursuant

   to 11 U.S.C. §§ 307 and Fed. R. Bankr. P. 4004.

    3.       This relief is sought without notice and hearing pursuant to LR 9013-

   1(c)(xii).

    4.       This case was filed under chapter 7 of the United States Bankruptcy

   Code on November 13, 2018.

    5.       The United States Trustee, based upon information received, is

   investigating potential violations of 11 U.S.C. § 727 by the Debtor. The

   United States Trustee recently received documents and desires additional
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   time for review. The United States Trustee also desires additional time to

   conduct a rule 2004 examination of the Debtor.

    6.      The United States Trustee desires additional time to complete his

   investigation. Insofar as actions brought under 11 U.S.C. § 727 are for the

   benefit of all creditors, said extension should be for the benefit of all parties

   in interest.

         WHEREFORE, the United States Trustee respectfully requests that the

   Court enter an Order extending the deadline for filing a complaint objecting

   the Debtor’s discharge to April 12, 2019.

   Dated: February 5, 2019                         Paul A. Randolph
                                                   Acting United States Trustee

                                                   By:/s/ Bradley M. Nerderman
                                                      John L. Daugherty
                                                      Assistant U.S. Trustee
                                                      Rachelle C. Dodson
                                                      Bradley M. Nerderman
                                                      Trial Attorneys
                                                      Office of the U.S. Trustee
                                                      100 E. Vine St., Suite 500
                                                      Lexington, KY 40507
                                                      (859) 233-2822

                                Certificate of Service

      I certify that on February 5, 2019, I served a copy of the foregoing via ECF
   noticing upon all parties registered to receive notice electronically.

                                                       /s/ Bradley M. Nerderman
                                                       Bradley M. Nerderman




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